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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA               VIOLATIONS:

                                       18 U.S.C. § 1962(d)
          v.                           RICO Conspiracy

                                       18 U.S.C. § 1962(c)
                                       Racketeering

(1) EDWARD J. MACKENZIE, JR.,          18 U.S.C. § 1349
                                       Mail Fraud Conspiracy

                                       18 U.S.C. § 1956(h)
                                       Money Laundering Conspiracy

                                       18 U.S.C.   §   1951
                                       Extortion

                                       18 U.S.C. § 1343
                                       Wire Fraud
               Defendant.
                                       18 U.S.C. § 2(a)
                                       Aiding and Abetting

                                       18 U.S.C. §§ 981, 982,
                                       963, 28 U.S.C. § 2461
                                       Criminal Forfeiture

                              INDICTMENT


     THE UNITED STATES GRAND JURY        in and    for   the District of

Massachusetts charges that:




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                                     COUNT ONE
                             (Racketeering Conspiracy)

      At all times relevant to this Indictment:

                                    THE ENTERPRISE

      1.      The Boston Society of the New Jerusalem was chartered

in    1823    as     one     of    the         first        Swedenborgian          churches     in

Massachusetts.          The Boston Society of the New Jerusalem,                              Inc.

(hereinafter,        "BSNJ")       was     a     charitable          religious       non-profit

corporation established under the                          laws of    the Commonwealth of

Massachusetts        which    operated          as     a    church.         BSNJ    established

Bostonview      Corporation,        Inc.        (hereinafter,         "BVC") ,      which     does

business in Massachusetts as a non-profit corporation,                                  for the

specific purpose of holding title to property located at 130-140

Bowdoin      Street,    Boston,      Massachusetts.                  The     130-140    Bowdoin

Street property encompassed both the Boston Society of the New

Jerusalem      church        and    an         approximately          18-story        apartment

building      with      approximately            145         residential       rental       units

(hereinafter,        "BVC Apartments").                    These rental units generated

net income of approximately $1.4 million per year.                                   Each year

since in or about 2006, BVC has remitted its net income to BSNJ.

      2.      BSNJ was run by a Board of Trustees, which was elected

by the church members.               The Board of Trustees was responsible

for   decisions        regarding     BSNJ's          finances,        the    collection        and

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distribution of all funds for the support of public worship or

special programs,               the maintenance of financial records, and the

preparation of a budget.                  As of in or about 2003, BSNJ also had

a "Director of Operations," who had responsibility and authority

for changes to the physical plant of the church.                             BVC was run by

a Board of Directors and was a wholly-owned subsidiary of BSNJ.

BSNJ,        together with its            wholly-owned subsidiary,               BVC, will be

referred to herein as the "Church."

        3.         The Church constituted an "enterprise"                    as defined by

Title        18,     United      States    Code,       Section   1961(4),        that    is,   an

association in fact of entities (hereinafter,                            "the enterprise").

The enterprise constituted an ongoing organization whose members

functioned           as    a     continuing        unit   for    a   common        purpose     of

achieving the objectives of the enterprise.                          This enterprise was

engaged in,           and its activities affected,               interstate and foreign

commerce.

        4.         The    Church is       an exempt       organization under            Internal

Revenue            Code    Section     501 (c) (3)        (hereinafter,          "IRC   Section

SOl(c) (3)").                  Under   the    U. S.       tax    code,      as     an    exempt

organization,             the     Church      is       prohibited    from        engaging      in

activities that result                 in inurement of           the Church's income or

assets        to     insiders.         The    prohibition         against        inurement     to



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insiders      is    absolute;      therefore,       any      amount      of    inurement        to

insiders is potentially grounds for loss of tax-exempt status.

                                     THE DEFENDANT

       5.        EDWARD J.    MACKENZIE,     JR.,      54,     became a member of the

Church      in     approximately        September        2002i     in    2003,         MACKENZIE

became       the    Church's       "Director      of      Operations, "            a     salaried

position that was created especially for him and which he still

holds.

       6.     MACKENZIE       was an officer of              BSNJ and a            Director of

BVC.        In Massachusetts,        officers       and directors             of       non-profit

corporations        must     act   in    good     faith      and    exercise            fiduciary

duties of care and loyalty.                Pursuant to Massachusetts                      General

Law Chapter 180,           Section 6C,      a     "director ... shall perform his

duties as such ... in good faith and in a manner he reasonably

believes to be in the best interest of the corporation, and with

such care as an ordinarily prudent person in a                                like position

with respect to a similar corporation ... would use under similar

circumstances."            A director      may      not      improperly       benefit        from

transactions with the corporation.

                             THE RACKETEERING CONSPIRACY

       7.        From at least as early as in or before September 2002,

and    continuing      through      at    least     in    or     about    December          2012/

within the District of Massachusetts and elsewhere /                                   EDWARD   J.

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MACKENZIE,             JR.,      defendant herein               l   and others known and unknown

to the Grand Jury                I    being persons employed by and associated with

the     Church     I       an    enterprise           engaged         in      l        and     the        activities        of

which affected               l   interstate and foreign commerce                                 I    did unlawfully

and knowingly conspire                    I    confederate and agree to violate Title

18 1 United States Code I                      Section 1962(c), that is, to conduct and

participate,                directly          and     indirectlYI                  in    the         conduct        of     the

affairs       of           the   enterprise           through         a           pattern            of     racketeering

activity.              The pattern of racketeering activitYI as that term is

defined by Title 18,                     United States Code,                             Sections 1961(1)                  and

1961(5)1         through which MACKENZIE and his co-conspirators agreed

to     conduct             and       participate           directly               and        indirectly             in     the

conduct of the affairs of the enterprise                                           l    consisted of multiple

acts:            (a)        indictable          under       Title             18,        United            States        Code   I




Section 1343 (wire fraud)                       i   (b)    indictable under Title 18                            1   United

States       Code      I    Section 1341              (mail         fraud)         i     (c)    indictable               under

Title 18     1     United States Code                  I    Section 1956                     (money laundering)                 i


(d)    indictable under Title 18 1 United States Code I                                                    Section 1951

(extortion); and (e) involving bribery                                    I       chargeable under Section

39 of Chapter 271 of the Massachusetts General Laws.

        8.        It was part of                    the conspiracy that MACKENZIE agreed

that     a        conspirator                 would        commit             at        least             two   acts        of



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racketeering          activity     in    the    conduct      of      the     affairs    of    the

enterprise.

                               OBJECTS OF THE CONSPIRACY

        9.      It was a goal of the conspiracy for MACKENZIE and his

co-conspirators to become members of the enterprise and obtain

power and influence within the enterprise so that MACKENZIE and

his co-conspirators could defraud the Church of its considerable

financial       holdings       and profit       from      transactions         involving      the

Church.

        10.     Once        MACKENZIE     and       his    co-conspirators             were    in

positions of authority within the enterprise, they carried out a

scheme to defraud the Church and to obtain money and property

from    the     Church by means           of    false     and     fraudulent         pretenses,

representations and promises, to enrich themselves and others at

the expense of the Church,                and to personally enrich themselves

by soliciting and accepting bribes and kickbacks                                from vendors

doing business with the Church.

                       MANNER AND MEANS OF THE CONSPIRACY

        It was a part of the conspiracy that:

        11.     MACKENZIE        and     co-conspirator              Thomas     J.      KENNEDY

(another new Church member)                    knew   that   the      Church had only a

small        number    of    voting     members,      many      of    whom    were     elderly.

MACKENZIE became a full voting member of the Church in or about

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September 2002.           Shortly after joining the Church, MACKENZIE and

KENNEDY devised a plan to gain control of the Church so that

they    could      defraud      the   Church       of   its   considerable      financial

holdings and profit from transactions involving the Church.

       12.    Accordingly, MACKENZIE and KENNEDY devised a scheme to

gain control of the Church by, among other things:

              a. Inducing the then-Reverend to endorse MACKENZIE and
                 KENNEDY's plan to take control of the Church by
                 promising,   and    subsequently    granting,   him
                 substantial remuneration and autonomy within the
                 Church; and

              b. Recruiting and using friends and family, some of
                 whom had no interest in, or awareness of, the Church
                 and its teachings, to become members, and creating
                 phony membership applications for other new Church
                 "members" who had no idea they had "applied" for
                 membership in order to establish a voting maj ori ty
                 to elect themselves into positions of authority
                 within the Church.

       13.    At the annual Church members meeting in or about May

2003, MACKENZIE and KENNEDY assembled a sufficient voting bloc

to take control of the Church.                       Once in control,      in or about

2003, MACKENZIE, KENNEDY, and their co-conspirators began moving

to    consolidate         and   fortify     their       power,     including,    but   not

limited      to,    the    following:          (a)      removing    certain     incumbent

Trustees and Church officials who were perceived as obstacles;

(b)    seceding from the General Convention and other umbrella and

parent    organizations          of   the   Swedenborgian Church          in order to


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obtain greater autonomy;                       (c)    amending           the    Church's by-laws           to

give MACKENZIE and KENNEDY greater authority and control;                                                 and

(d)    creating the salaried position of                                 "Director of Operations"

for    the Church        -    a    position for which MACKENZIE was hired in

2003       and continued           to    hold        as       of   May    2013         and    giving      the

"Director of Operations"                      authority for changes to the physical

plant of the Church.

        14.    In addition              to     consolidating              their power within              the

Church,       once in control,                MACKENZIE            and his co-conspirators,                in

violation of          their        fiduciary obligations                       and   the    Church's      IRC

Section 501(c} (3)           status, began voting to provide themselves and

their associates with substantial financial benefits,                                          including,

but    not    limited        to:         (a)     the          purchase     of    at    least      four    new

vehicles       for,   among others,                  MACKENZIE,          KENNEDY,      and a      relative

of MACKENZIE;          (b)        cash awards             for MACKENZIE's              family members;

(c)    a    $50,000     "loan"          to     MACKENZIE           to     pay    his   personal         legal

bills; and (d) tuition grants to family members of KENNEDY.

        15.    On or about December 12, 2003,                             the Church entered into

a     five-year       employment              agreement            with    MACKENZIE         to    be     the

Church's       "Director           of    Operations,"               a     position         that   had    not

previously       existed.               The    agreement            provided MACKENZIE             with     a

starting        salary        of        $100,000,              annual       salary         increases       in

accordance with the Consumer Price Index, performance bonuses, a

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retirement              plan,       health      insurance,          and     four     weeks    of        paid

vacation (plus 11 paid holidays).                              In September 2006, the Board

of Trustees agreed to renew MACKENZIE's employment agreement for

another           five        years       effective         December       2008,     and     continuing

through           December           2013.        In        2012,     MACKENZIE's          salary         and

compensation              as        the     Church's        "Director        of    Operations      ll
                                                                                                          was

approximately $200,000.

        16.           Once in power, MACKENZIE began to systematically loot

the     Church           of     its       considerable         financial          assets     through        a

combination              of    fraud,        deceit,        extortion,      theft,      and    bribery.

Moreover,             MACKENZIE        intimidated and threatened individuals who

were employed by and did work at the Church by in part,                                                 among

other     things,             providing        them    with        signed    copies     of    his        2003

autobiography,                Street        Soldier:          My    Life     as    an   Enforcer          for

Whi tey   Bulger              and     the    Boston     Irish       Mob     (hereinafter,       "Street

Soldierll     )   •      In Street Soldier,             MACKENZIE admitted to a                 lengthy

criminal              history,       including        burglary,       robbery,       armed assault,

and narcotics trafficking.

      All in violation of Title 18, United States Code,                                         Section

1962 (d) .




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                                             COUNT TWO
                                           (Racketeering)

           17.   paragraphs          1-6    and    9-16       are        restated       herein       and

incorporated by reference.

       18.        From       at     least    in    or     before          September       2002       and

continuing through at least in or about December 2012,                                         in the

District of           Massachusetts          and elsewhere,              EDWARD    J.    MACKENZIE,

JR.,       defendant herein,           together wi th others,               known and unknown

to the Grand Jury, being persons employed by and associated with

the        Church,       did        unlawfully         and         knowingly        conduct          and

participate,           directly       and    indirectly,            in    the   conduct        of    the

affairs of the Church,                 an enterprise which was engaged in,                           and

the        activities        of     which     affected,            interstate       and        foreign

commerce,           through         the     pattern       of         racketeering             activity

particularly described below in paragraphs 19 through 56.

                               RACKETEERING ACT NUMBER ONE
                              (Space propulsion Wire Fraud)

       19.       In    or    about     Spring     of    2004,        MACKENZIE          and    KENNEDY

knowingly caused the Church to invest $200,000 of Church money

in     a     Florida         corporation,         Space       propulsion          Systems,          Inc.

(hereinafter,          "Space propulsion").               MACKENZIE         and KENNEDY caused

the        Church      to         invest    $200,000          in     Space        Propulsion          by

fraudulently            misrepresenting            that            the     $200,000           was     an

investment,           when    it     was    primarily     a    means        for   MACKENZIE          and

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KENNEDY to enrich themselves at the Church's expense.                                 In fact,

MACKENZIE       and        KENNEDY had an agreement                wi th Space     Propulsion

that    the     Church's       investment         was     conditional      on an    immediate

$80,000 kickback to MACKENZIE and KENNEDY,                           which MACKENZIE and

KENNEDY concealed from the Church.

        20.     From at least in or about Spring 2004, to at least on

or about June 8,             2004, MACKENZIE and others,                  known and unknown

to the Grand Jury,              devised and intended to devise                     the above­

described       scheme       and     artifice      to     defraud    the    Church,    and    to

obtain        money    and    property       by    means     of     materially     false     and

fraudulent pretenses, representations and promises.

        21.     On or about          each of        the    dates    set    forth below,       in

Boston,       in the District of Massachusetts,                      in Jacksonville,         in

the     Middle        District       of    Florida,        and     elsewhere,      EDWARD     J.

MACKENZIE,       JR.,       defendant herein,           aided and abetted by others,

known     and     unknown       to     the   Grand        Jury,     for    the    purpose     of

executing the scheme and artifice described above,                               caused to be

transmitted           by     means    of     wire       communication        in    interstate

commerce       the     signals       and   sounds       described     below,      anyone      of

which alone constitutes the commission of Racketeering Act




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Number     One,        in    violation          of    Title     18,     United   States       Code,

Sections 1343 and 2 (a) :

     DATE                          DESCRIPTION

1A   June 4, 2004                  $200,000 wire MA to FL
1B   June 7, 2004                  $40,000 wire FL to MA (KENNEDY)
1C   June 8, 2004                  $40,000 wire FL to MA (MACKENZIE)

                              RACKETEERING ACT NUMBER TWO
                              (College Tuition Mail Fraud)

     22.     The       Church has              long had a       tuition grant      program in

which the Church provided scholarships and tuition grants to the

families of Church members.                          Between approximately Winter 2005

and August 2008, MACKENZIE fraudulently caused the Church to pay

approximately $108,980 in tuition payments to Boston College and

Quinnipiac University on behalf of the children of an executive

at   the    property           management             company       that    managed     the     BVC

Apartments        (hereinafter        I     "Tuition Recipient #1").              It was part

of the scheme that MACKENZIE falsely misrepresented to Tuition

Recipient         #1        that     the        Church     had        expanded    its     tuition

reimbursement program to non-Church members /                               when in fact        the

Church     had     not       done     so.        MACKENZIE       then      encouraged     Tuition

Recipient     #1       to     apply       to    the    Church / s     tuition    program.        In

return for using his influence to cause the Church to improperly

pay $108,980 in tuition payments on behalf of Tuition Recipient




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#1,   MACKENZIE solicited and accepted from Tuition Recipient #1

approximately $20,000 in cash kickbacks.

      23.     From at           least   as    early as       in or about March               2005,

through      in      or     about        Augus t     2008,      in     the     District         of

Massachusetts,            the     District      of       Connecticut,        and     elsewhere,

EDWARD J. MACKENZIE, JR., defendant herein, aided and abetted by

others,      known    and        unknown       to    the     Grand    Jury,        devised     and

intended to devise               the above-described scheme and artifice to

defraud and obtain money and property by materially false and

fraudulent pretenses, representations, and promises.

      24.     On or about the dates listed below,                         in the District

of Massachusetts,               the District        of     Connecticut,      and elsewhere,

for   the    purpose        of    executing         and    attempting     to       execute     the

above-described scheme and artifice to defraud and obtain money

and   property        by        means    of    materially        false       and     fraudulent

pretenses,        representations             and    promises,       MACKENZIE        knowingly

caused to be placed in a post office and authorized depository

for mail matter a matter and thing to be sent and delivered by

the Postal Service, anyone of which mailings alone constitutes

the commission of Racketeering Act Number Two,                            in violation of

Title 18, United States Code, Sections 1341 and 2(a):

      DATE                              CHURCH CHECK MAILING

2A    January 1, 2006                   $15,000 to BC (ck. # 2897)

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2B         August 3, 2006                   $15,000     to      BC (ck.               #   3359)
2C         January 4, 2007                  $15,000     to      BC (ck.               #   3701)
2D         June 141 2007                    $15 / 000   to      BC (ck.               #   4064)
2E         January 41 2008                  $15 / 000   to      BC (ck.               #   4497)
2F         July 10 1 2008                   $15 / 000   to      QU (ck.               #   6323)
2G         August 141 2008                  $18 / 980   to      BC (ck.               #   6362)

TOTAL                                       $108,980

                              RACKETEERING ACT NUMBER THREE
                               (Check Stealing Mail Fraud)

           25.     Between in or about April                         2006 and in or about June

2008   I        MACKENZIE    and     KENNEDY        came        into             physical         possession          of

seven checks made payable to either BSNJ or BVC.                                                  MACKENZIE and

KENNEDY           then    devised       a    scheme        to    steal                the    checks    from          the

Church.           It was part of the scheme that                             l    in order to steal the

checks      l     MACKENZIE       and       KENNEDY        created                a       phony     trust   l       "BVC

Trust.      II     MACKENZIE       and       KENNEDY       used      l       among          other   things      I    the

creation of BVC Trust to open two sham Sovereign Bank accounts

in the names of BSNJ and BVC.                         When MACKENZIE and KENNEDY opened

the        two    sham Sovereign Bank accounts                           I       they provided the                  bank

with addresses              over which MACKENZIE and KENNEDY had exclusive

dominion and              control.           This   allowed MACKENZIE                          and KENNEDY            to

conceal           the    scheme    to       defraud     from             the      Church by maintaining

control over the bank statements and financial records for the

two sham Sovereign Bank accounts.                               Once the sham Sovereign Bank

accounts were opened,                   it was part of the scheme that MACKENZIE

and KENNEDY fraudulently deposited seven checks payable to the

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Church      I        totaling          approximately                $168 / 169.74 1                  into                 the       sham

Sovereign Bank accounts.                          After the seven checks were deposited                                                l




MACKENZIE              and        KENNEDY     I       through                 a        series            of               financial

transactions that were designed at least in part to conceal the

fraud   1       shared the proceeds.

        26.          From at           least on or about April                              26   I   2006         I       until at

least           on    or     about        June        20   1     2008    1        at       Boston    l        Canton            I   and

elsewhere in the District of Massachusetts                                             1   EDWARD J. MACKENZIE,

JR.,    defendant herein                  l   aided and abetted by others                                     1           known and

unknown to the Grand Jury                         1    devised and intended to devise the

above-described scheme and artifice to defraud and obtain money

and     property             by        materially              false         and        fraudulent                    pretenses        I




representations              1    and promises.

        27.          For the purpose of executing and attempting to execute

the above-described scheme and artifice                                                to defraud and obtain

money and property by materially false and fraudulent pretenses                                                                        1




representations              I    and promises             1    MACKENZIE               and KENNEDY knowingly

caused to be placed in a post office and authorized depository

for mail matter a matter and thing to be sent and delivered by

the Postal Service                 l    to wit: bank statements and other financial

documents             between          2006   and      2008             for       the      sham       Sovereign Bank

accounts         1   in violation of Title 18                       1    United States Code                           I    Sections

1341 and 2(a).

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                                      RACKETEERING ACT NUMBER FOUR
                                      (Money            Conspiracy)

          28.     In approximately April 2006                             1    MACKENZIE created a sham

trust     1     "Fillabuster Catering Trustfl                             (hereinafter                1    "FCT   11
                                                                                                                       )        based

on    a       purposeful               variation          of        the        name          of           "Fill-A-Buster

Restaurant        1 fI     which had been located next to the Church for over

30 years.                 It was part of the conspiracy that in creating FCT                                                           1




MACKENZIE          falsely misrepresented on various                                         documents                 that an

ex-girlfriend of his was the "trustee fl of FCT                                              1        and a signature

purporting                to    be     that      of     his        ex-girlfriend                 appears               on        FCT-

related          documents.                  MACKENZIE's             ex-girlfriend                l       however           1    had

never heard of FCT and was not familiar with the term "trustee                                                                     1
                                                                                                                                       fl




nor had she ever signed any document on behalf of FCT.                                                             Once the

FCT was established                    l   MACKENZIE used the falsified FCT documents

to open a bank account in the name of FCT                                           1    for which MACKENZIE

had sole signatory authority.                                      Once       the   FCT bank account was

established           l    MACKENZIE             used    the        account             to   conceal           from               the

Church          his        affiliation            with        FCT 1           conceal            the       proceeds                of

Racketeering Acts Numbers                             Three    1    Eight      1    Fifteen           l    and Sixteen                 l




and       conceal              from        the    Internal            Revenue            Service             more                than

approximately $316 / 000 in income that he was paid by the Church

through FCT.




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        29.      From at least in or before April 2006 and continuing

through at least in or about December 2012 1                                                     in the District of

Massachusetts and elsewhere l EDWARD J. MACKENZIE, JR., defendant

herein l and others                  I    known and unknown to the Grand Jury                                      I   knowing

that the property involved in financial transactions represented

the proceeds of                     some    form of unlawful                          activitYI             did knowingly

conspire,             confederate,                   and                agree         to         conduct           financial

transactions          I       affecting           interstate and                      foreign             commerce,         which

in fact        involved the proceeds                                    of mail           fraud,          in violation of

Title     18 1    United                 States          Code       I    Section           1341,           and    commercial

bribery,         in           violation         of       Section               39    of      Chapter             271       of     the

Massachusetts General Laws                           I    knowing that                     the transactions were

designed         in           whole       and     in      part            to    conceal            and       disguise             the

nature, the location l the source,                                        the ownershipi and the control

of   the proceeds of mail                            fraud      I        all    in violation of Title 18,

United        States           Code,       Section          1341 1             and        commercial             briberyl          in

violation        of           Section        39      of    Chapter                  271     of     the      Massachusetts

General        Laws       I    in        violation         of           Title        18,     United          States         Code    I




Sections 1956(h) and 1956(a) (1) (B) (i).

                                     RACKETEERING ACT NUMBER FIVE
                                    (Plumber #1 Commercial Bribery)

        30.      In           or    about       Summer              2006   I    the        Church          hired       a        large

commercial plumbing company                               (hereinafter                I    \\CPC tI   )    to replace the


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piping in the BVC Apartments.                  MACKENZIE also caused the Church

to   hire    "Plumber        #1,"    a    one-employee      plumbing         operation,        to

"oversee"        CPC     despite    the    fact    that    Plumber      #1' s     hiring was

unnecessary to complete the pipe replacement job.                               Between July

2006 and October 2007,              the Church paid Plumber #1 approximately

$123,808     to        "oversee"    the pipe       replacement        job.       During that

same period, in return for using his influence within the Church

to help Plumber #1 maintain and obtain work                            from the Church,

MACKENZIE solicited and accepted thousands of dollars                                  in cash

kickbacks from Plumber #1.

      31.        From at least in or about Summer 2006, until at least

in or about October 2007,                 in the District of Massachusetts,                    in

relation         to    transactions       and matters      concerning           the    business

affairs of an employer, principal, and beneficiary, to wit,                                   the

Church,     and as an agent and fiduciary of the Church,                              EDWARD J.

MACKENZIE,            JR.,   defendant      herein,       solicited,         accepted,        and

agreed      to    accept      payments      from    Plumber     #1,     who      was    not   an

employee,         principal,       and    beneficiary      of   the     Church,        upon   an

agreement and understanding that such payments would influence

MACKENZIE's conduct,            in violation of Section 39 of Chapter 271

of the Massachusetts General Laws.




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                               RACKETEERING ACT NUMBER SIX
                             (Floorer #1 Commercial Bribery)

        32.        Between 2006 and 2011 1 "Floorer #1'1 was the owner of a

greater Boston discount carpet and flooring company who was paid

approximately             $356 / 000     by    the    Church    for      numerous     carpet     and

flooring-related jobs.                   During that same period ,               in return for

using his influence within the Church to help Floorer #1 obtain

and   maintain            flooring-related            work    at    the    Church ,     MACKENZIE

knowingly caused Floorer #1 to inflate his bids for work at the

Church        by    soliciting         and     accepting       approximately        $116 / 650    in

cash kickbacks from Floorer #1.

        33.        From at       least    in or about          September 2006 1 until            at

least         in     or     about        December                   in     the    District        of

Massachusetts 1             in      relation          to     transactions         and     matters

concerning the business affairs of an employer 1                                 principal,      and

beneficiary,          to wit,       the Church,            and as an agent and fiduciary

of    the      Church,       EDWARD       J.    MACKENZIE,         JR.,    defendant      herein,

solicited,          accepted,      and agreed to accept payments from Floorer

#11   who was not an employee 1 principal 1 and beneficiary of the

Church   1    upon an agreement or understanding                          that   such payments

would influence MACKENZIE's conduct 1                         in violation of Section 39

of Chapter 271 of the Massachusetts General Laws.




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                             RACKETEERING ACT NUMBER SEVEN
                         (Aquarium Owner Commercial Bribery)

       34.        Between 2005 and 2011,            "Aquarium Owner," the owner of

a    greater Boston           fish    and aquarium         retail    store,     billed      the

Church, on average, approximately $25,000 - $30,000 per year for

aquarium services and associated maintenance.                            In approximately

March 2007, MACKENZIE fraudulently caused the Church to pay for

a    high-end          aquarium      installed      at    MACKENZIE's       residence        in

weymouth,         Massachusetts by Aquarium Owner.                   From the time the

aquarium was installed at MACKENZIE's residence in 2007, through

in or about 2011,             in return for using his influence within the

Church       to    help      Aquarium      Owner    obtain    and    maintain       aquarium-

related work at the Church, MACKENZIE knowingly caused Aquarium

Owner to inflate his bids for work at the Church by soliciting

and accepting from Aquarium Owner approximately $3,000 per year

in    concealed           bribes     and     kickbacks       that    consisted       of     the

maintenance            and   replacement       work      performed    on    the      aquarium

installed          in MACKENZIE's          residence      (for   which     Aquarium       Owner

never charged MACKENZIE) .

       35.        From at least in or about March 2007,                    until at least

in or about December 2011,                  in the District of Massachusetts, in

relation          to   transactions        and matters       concerning       the    business

affairs of an employer, principal, and beneficiary,                            to wit,      the


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Church,    and as an agent and fiduciary of the Church,                            EDWARD J.

MACKENZIE,        JR.,     defendant    herein,              solicited,     accepted,       and

agreed to accept things of value,                      to wit,    an aquarium installed

at   his        residence      and     related            maintenance        service        and

parts/accessories, from Aquarium Owner, who was not an employee,

principal,       and beneficiary of the Church,                    upon an agreement or

understanding        that     such     things           of     value      would    influence

MACKENZIE's conduct,          in violation of Section 39 of Chapter 271

of the Massachusetts General Laws.

                           RACKETEERING ACT NUMBER EIGHT
                         (Carpenter #1 Commercial Bribery)

     36.        Carpenter #1 is a self-employed carpenter who has run

his own commercial and residential general contracting company

in   greater       Boston     for     more    than           twenty     years.       Between

approximately Summer 2007 and December 2007,                           in return for using

his influence within the Church to help Carpenter #1 obtain and

maintain        general    contracting       work        at      the    Church,    MACKENZIE

knowingly caused Carpenter #1 to inflate his bid for work at the

Church     by    soliciting     and    accepting             approximately        $24,000    in

kickbacks from Carpenter #1, some of which MACKENZIE directed be

in the     form of        checks payable          to    Fillabuster Catering,           which

MACKENZIE caused to be deposited into the FCT account.




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     37.        From at least in or about August 2007, until at least

in or about December 2007,                in the District of Massachusetts,                      in

relation        to    transactions        and   matters      concerning          the    business

affairs of an employer, principal, and beneficiary,                               to wit,       the

Church, and as an agent and fiduciary of the Church,                                   EDWARD J.

MACKENZIE,           JR.,     defendant     herein,       solicited,            accepted,       and

agreed     to    accept payments           from      Carpenter #1,         who was        not    an

employee,        principal,         and   beneficiary        of    the    Church,        upon    an

agreement or understanding                 that      such payments         would        influence

MACKENZIE's conduct,                in violation of Section 39 of Chapter 271

of the Massachusetts General Laws.

                              RACKETEERING ACT NUMBER NINE
                            (Carpenter #2 Commercial Bribery)

     38.        Carpenter #2 is a self-employed carpenter who has run

his own general contracting company in greater Boston for more

than two decades.               Between approximately May 2007 and December

2010, Carpenter #2 was paid approximately $96,345 by the Church.

In return for               using   his   influence     within      the     Church to help

Carpenter #2 obtain and maintain general contracting work at the

Church,     MACKENZIE           solicited       and    accepted          cash     and     in-kind

kickbacks        from       Carpenter     #2,   to    wit,    at    least        approximately

$20,500 in cash as well as carpentry work that was paid for by




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the Church but was performed by Carpenter #2 at the residences

of MACKENZIE and a family member of MACKENZIE.

      39.    From at least in or about May 2007, until at least in

or about December           2010,    in the District of Massachusetts,                     in

relation     to    transactions      and     matters     concerning        the    business

affairs of an employer, principal, and beneficiary,                         to wit,      the

Church, and as an agent and fiduciary of the Church,                             EDWARD J.

MACKENZIE,        JR.,    defendant     herein,        solicited,      accepted,         and

agreed to     accept      payments     from       Carpenter   #2,    who    was    not     an

employee,     principal,       and    beneficiary       of    the    Church,      upon     an

agreement    or understanding          that       such payments      would influence

MACKENZIE's conduct,          in violation of Section 39 of Chapter 271

of the Massachusetts General Laws.

                          RACKETEERING ACT NUMBER TEN
                            (Carpenter #2 Extortion)

      40.    Not    later    than    2009,        MACKENZIE   gave    Carpenter       #2    a

signed copy of Street Soldier.                    In or about December 2010,               in

connection with a job at the Church, when Carpenter #2 initially

attempted to provide MACKENZIE with only a                      $3,000      (instead of

the   previously         agreed-upon    $6,000)        cash    kickback,         MACKENZIE

swore at Carpenter #2, banged on the hood of Carpenter #2's car,

and put Carpenter #2 in fear for his physical safety.                             At that

point, Carpenter #2 gave MACKENZIE an additional $3,000 in cash.


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      41.    From in or about at least 2009 and continuing until in

or about December 2010,                  within the District of Massachusetts,

EDWARD J. MACKENZIE, JR., defendant herein, did obstruct, delay,

and affect commerce and the movement of articles and commodities

in commerce by extortion,                 as those terms are defined in Title

18,   United       States        Code,     section             1951,      that       is,     MACKENZIE

obtained      property,          to      wit,        United        States           currency,        from

Carpenter     #2    with        Carpenter       #2's           consent,       which    consent       was

induced by        the     wrongful       use    of        actual        and    threatened       force,

violence,     and       fear,    in violation of                  Title       18,    United     States

Code, Section 1951.

                          RACKETEERING ACT NUMBER ELEVEN
                          (Boiler Replacement Wire Fraud)

      42.    In approximately              December             2010,     after      being     advised

that MACKENZIE required a kickback of approximately 10% on all

work done at the Church,                 the owner of CPC inflated the bid he

submitted to the Church for a boiler replacement job to account

for   the   10% kickback to MACKENZIE.                            In return for using his

influence within the Church to help CPC obtain and maintain the

boiler      replacement          job,     MACKENZIE             knowingly           caused     CPC     to

inflate     its     bid    for     work        at        the    Church        by    soliciting        and

accepting an approximately $27,400 cash kickback from the owner

of CPC.


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          43.    From at least in or about December 2010,                       to at least

on     or       about       October/November      2011,     MACKENZIE       devised        and

intended to devise the above-described scheme and artifice to

defraud the Church, and to obtain money and property by means of

materially false              and fraudulent pretenses,            representations and

promises.

          44.    On or about each of the dates set forth below,                         in the

District of Massachusetts and                  elsewhere,     EDWARD       J.    MACKENZIE,

JR.,      defendant herein,            aided and abetted by others,               known and

unknown to            the   Grand Jury,     for   the     purpose    of    executing       the

scheme and artifice described above, caused to be transmitted by

means of wire communication in interstate commerce the writings,

signals         and     sounds   described     below,     anyone      of        which    alone

constitutes the commission of Racketeering Act Number Eleven, in

violation of Title               18,   United States       Code,    Sections       1343    and

2 (a) :

          DESCRIPTION

llA       12/20/2010 a.m. E-mail from CPC to BVC
IlB       12/20/2010 p.m. E-mail from CPC to BVC




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                               RACKETEERING ACT NUMBER TWELVE
                           (Boiler Replacement Commercial Bribery)

        45.    Paragraph 42             is       restated herein and             incorporated by

reference.

        46.    From at least in or about December 2010,                                   to at least

on     or     about        October/November                2011,       in     the      District          of

Massachusetts,              in    relation            to        transactions          and        matters

concerning the business affairs of an employer,                                     principal,         and

beneficiary,         to wit,          the Church,          and as an agent and fiduciary

of     the    Church,       EDWARD          J.     MACKENZIE,         JR.,    defendant          herein,

solicited,       accepted,            and        agreed    to    accept       payments          from    the

owner of CPC and the owner's associate, who were not employees,

principals,         and beneficiaries of the Church,                          upon an agreement

or understanding that such payments would influence MACKENZIE's

conduct,       in    violation          of       Section        39    of    Chapter       271    of     the

Massachusetts General Laws.

                           RACKETEERING ACT NUMBER THIRTEEN
                               (Booster Pump Wire Fraud)

        47.    In     or    about       2011,        after       being       advised      again        that

MACKENZIE required a kickback of approximately 10% on all work

done    at     the    Church,          the       owner     of    CPC       inflated       the    bid     he

submitted to the Church for a booster pump job to account for

the     10%    kickback          to     MACKENZIE.               In    return       for    using       his

influence within the Church to help CPC obtain and maintain the

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booster pump job, MACKENZIE knowingly caused CPC to inflate its

bid       for   work        at   the     Church    by    soliciting     and    accepting        an

approximately $9,400 cash kickback from the owner of CPC.

          48.    From at least in or about July 2011, to at least on or

about August 2011, MACKENZIE devised and intended to devise the

above-described scheme and artifice to defraud the Church,                                     and

to obtain money and property by means of materially false and

fraudulent pretenses, representations and promises.

          49.    On or about each of the dates set forth below,                             in the

District of Massachusetts                     and elsewhere,        EDWARD     J.    MACKENZIE,

JR.,      defendant herein,              aided and abetted by others,                 known and

unknown         to    the    Grand Jury,          for   the   purpose   of     executing       the

scheme and artifice described above, caused to be transmitted by

means of wire communication in interstate commerce the writings,

signals         and    sounds      described        below,    anyone      of        which    alone

constitutes the commission of Racketeering Act Number Thirteen,

in violation of Title 18, United States Code, Sections 1343 and

2 (a) :

          DESCRIPTION

13A       7/12/2011     E-mail         from   CPC to    Church
13B       8/4/2011      E-mail         from   CPC to    Church
13C       8/4/2011      E-mail         from   CPC to    MACKENZIE
13D       8/10/2011     E-mail         from   Church    to CPC
13E       8/10/2011     E-mail         from   CPC to    Church



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                         RACKETEERING ACT NUMBER FOURTEEN
                         (Booster Pump Commercial Bribery)

      50.     Paragraph 47         is    restated herein and           incorporated by

reference.

      51.     From at least in or about July 2011, until at least in

or   about    August       2011,    in    the     District    of     Massachusetts,        in

relation     to    transactions          and matters       concerning       the    business

affairs of an employer, principal, and beneficiary,                          to wit,      the

Church, and as an agent and fiduciary of the Church,                              EDWARD J.

MACKENZIE,        JR.,     defendant       herein,     solicited,        accepted,        and

agreed to accept payments from the owner of CPC and the owner's

associate, who were not employees, principals, and beneficiaries

of   the    Church,      upon   an agreement         or    understanding          that   such

payments     would       influence MACKENZIE's            conduct,    in violation of

Section 39 of Chapter 271 of the Massachusetts General Laws.

                         RACKETEERING ACT NUMBER FIFTEEN
                             (Painter #1 Wire Fraud)

      52.     In or about 2009, MACKENZIE asked Painter #1,                         a long­

time friend of his,             to submit a bid for painting work at the

Church,      despite      the   fact      that    Painter     #1   had   little      or    no

previous     painting experience.                 Between approximately May 2009

and October 2009,           Painter #1' s         company was paid approximately

$127,129 by the Church, including payment for painting work that

Painter      #1    never     performed       but     for     which    the    Church,       at

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MACKENZIE's    direction,      was    billed.           In    return     for    using     his

influence     within    the    Church     to     help        Painter    #1     obtain     and

maintain the painting work at              the    Church,        MACKENZIE       knowingly

caused Painter #1 to inflate her bids for work at the Church by

soliciting     and     accepting     at   least     approximately              $24,000     in

kickbacks from Painter #1 and Painter #l's associates, a portion

of which MACKENZIE deposited into the FCT account.

     53.     From at least in or about May 2009,                     to at least in or

about October 2009, MACKENZIE devised and intended to devise the

above-described scheme and artifice to defraud the Church,                                and

to obtain money and property by means of materially false and

fraudulent pretenses, representations and promises.

     54.     On or about the date set forth below,                     in the District

of   Massachusetts       and   elsewhere,         EDWARD        J.     MACKENZIE,        JR.,

defendant herein, aided and abetted by others, known and unknown

to the Grand Jury,        for the purpose of executing the scheme and

artifice described above,          caused to be transmitted by means of

wire communication in interstate commerce the following writing,

signal and sound,       in violation of Title 18, United States Code,

Sections 1343 and 2(a):

DESCRIPTION

9/1/2009 E-mail from MACKENZIE to Painter #1



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                              RACKETEERING ACT NUMBER SIXTEEN
                              (Painter #1 Commercial Bribery)

       55.        Paragraph 52          is    restated herein and incorporated by

reference.

       56.        From at least in or about May 2009, until at least in

or about          October       2009,    in       the    District   of   Massachusetts,       in

relation          to    transactions         and    matters    concerning       the    business

affairs of an employer, principal, and beneficiary,                              to wit,     the

Church,      and as an agent and fiduciary of the Church,                             EDWARD J.

MACKENZIE,             JR.,    defendant          herein,     solicited,       accepted,     and

agreed       to    accept       payments          from    Painter   #1   and    Painter     #l's

associates,              who      were        not        employees,      principals,         and

beneficiaries of the Church, upon an agreement or understanding

that     such          payments    would          influence    MACKENZIE's       conduct,     in

violation of             Section 39          of    Chapter    271   of   the    Massachusetts

General Laws.

       All in violation of Title 18, United States Code, Sections

1962 (c) .




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                                      COUNT THREE
                        (College Tuition Mail Fraud Conspiracy)

        57.       As set forth above in paragraph 221                              which is restated

herein and incorporated by reference 1                              from at least in or about

March 2005        1    through at          least          in or about August            2008 1         in the

District          of    Massachusetts 1              the       District      of     Connecticut 1            and

elsewhere     1       EDWARD J. MACKENZIE,                 JR.,    defendant herein          l       with the

intent to defraud              l    combined    1    conspired     1   confederated      l   and agreed

wi th    other persons              1   known       and    unknown      to    the    Grand           Jury,    to

devise    the          above-described scheme                   and artifice          to defraud and

obtain money             and       property         by materially            false    and        fraudulent

pretenses, representations, and promises.

        58.       For the purpose of executing and attempting to execute

the     above-described scheme                      and artifice          to defraud and obtain

money and property by materially false and fraudulent pretenses,

representations,               and promises          I    MACKENZIE and others,                  known and

unknown to the Grand Jury,                          knowingly caused to be placed in a

post office and authorized depository for mail matter a matter

and thing to be                    sent and delivered by the                      Postal Service         1    to

wi t:    tuition payment checks                      from the          Church to Boston College

and Quinnipiac University.

        All in violation of Title 18,                             United States Code             1    Section

1349.


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                                  COUNT FOUR
                    (Check Stealing Mail Fraud Conspiracy)

        59.    As set forth above in paragraph 25, which is restated

herein and incorporated by reference,           from at least on or about

April 26,       2006,    until at least on or about June 20,        2008,    at

Boston,       Canton,   and elsewhere in the District of Massachusetts,

EDWARD J. MACKENZIE,         JR.,   defendant herein,     with the intent to

defraud,       combined,    conspired,    confederated,    and   agreed    with

other persons,          known and unknown to the Grand Jury,       to devise

the above-described scheme and artifice to defraud and obtain

money and property by materially false and fraudulent pretenses,

representations, and promises.

        60.    For the purpose of executing and attempting to execute

the above-described scheme and artifice             to defraud and obtain

money and property by materially false and fraudulent pretenses,

representations,         and promises,   MACKENZIE and others,     known and

unknown to the Grand Jury,           knowingly caused to be placed in a

post office and authorized depository for mail matter a matter

and thing to be sent and delivered by the Postal Service,                     to

wit: bank statements and other financial documents between 2006

and 2008 for the sham sovereign Bank accounts.

        All in violation of Title 18,         United States Code,        Section

1349.


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                                    COUNT FIVE
                           (Money Laundering Conspiracy)

        61.   As set forth above in paragraph 28, which is restated

herein and incorporated by reference, from at least in or before

April 2006 and continuing through at least in or about December

2012, within the District of Massachusetts and elsewhere, EDWARD

J.     MACKENZIE,        JR.,    defendant        herein,       and   others   known     and

unknown to the Grand Jury, knowing that the property involved in

financial transactions represented the proceeds of some form of

unlawful      activity,         did     knowingly      conspire,       confederate,      and

agree    to   conduct          financial      transactions,       affecting    interstate

and foreign       commerce,           which   in fact     involved the proceeds of

mail     fraud,     in    violation        of     Title   18,     United    States     Code,

Section 1341, and commercial bribery, in violation of Section 39

of Chapter 271 of the Massachusetts General Laws,                           knowing that

the transactions were designed in whole and in part to conceal

and     disguise         the     nature,        the   location,       the   source,      the

ownership, and the control of the proceeds of mail fraud, all in

violation of Title              18,    United States        Code,     Section 1341,      and

commercial bribery, in violation of Section 39 of Chapter 271 of

the Massachusetts General Laws.

        All in violation of Title 18, United States Code, Sections

1956 {h} and 1956 (a) (1) {B} {i} .


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                                     COUNT SIX
                              (Carpenter #2 Extortion)

        62.    As set forth above in paragraph 40, which is restated

herein and incorporated by reference,                     from in or about at least

2009 and continuing until in or about December 2010, within the

District of Massachusetts,             EDWARD       J.    MACKENZIE,    JR.,    defendant

herein,       did     obstruct,     delay,        and    affect     commerce    and     the

movement of articles and commodities in commerce by extortion,

as   those     terms    are   defined    in Title          18,     United States      Code,

section       1951,    that   is,   MACKENZIE           obtained    property,    to    wit,

Uni ted States currency,            from Carpenter #2 with Carpenter #2' s

consent, which consent was induced by the wrongful use of actual

and threatened force, violence, and fear.

        All in violation of Title 18,                   United States Code,       Section

1951.




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                                COUNTS SEVEN AND EIGHT
                          (Boiler Replacement Job Wire Fraud)

        63.    As set forth above in paragraph 42, which is restated

herein and incorporated by reference,                      from at least in or about

December 2010,            to at least in or about October/November 2011,

MACKENZIE          devised     and     intended     to    devise    the     above-described

scheme and artifice to defraud the Church,                          and to obtain money

and     property          by   means     of   materially       false        and   fraudulent

pretenses, representations and promises.

        64.    On or about each of the dates set forth below,                         in the

District      of     Massachusetts and elsewhere,                  EDWARD    J.   MACKENZIE,

JR.,    defendant herein,              aided and abetted by others,               known and

unknown       to    the    Grand Jury,        for   the    purpose     of    executing the

scheme and artifice described above, caused to be transmitted by

means of wire communication in interstate commerce the writings,

signals and sounds described below:

COUNT                  DESCRIPTION

7                      12/20/2010 a.m. E-mail from CPC to BVC
8                      12/20/2010 p.m. E-mail from CPC to BVC

       All in violation of Title 18, United States Code,                            Sections

1343 and 2(a).




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                               COUNTS NINE THROUGH THIRTEEN
                               (Booster Pump Job Wire Fraud)

        65.    As set forth above in paragraph 47, which is restated

herein and incorporated by reference,                      from at least in or about

July    2011,       to    at    least   in    or     about   August    2011,     MACKENZIE

devised and intended to devise                      the above -described scheme and

artifice to defraud the Church, and to obtain money and property

by     means        of    materially         false     and    fraudulent        pretenses,

representations and promises.

        66.    On or about each of the dates set forth below,                       in the

District       of    Massachusetts      and elsewhere,          EDWARD     J.   MACKENZIE,

JR.,    defendant herein,            aided and abetted by others,               known and

unknown       to    the   Grand Jury,        for     the   purpose    of   executing   the

scheme and artifice described above, caused to be transmitted by

means of wire communication in interstate commerce the writings,

signals and sounds described below:

COUNT                    DESCRIPTION

9                        7/12/2011   E-mail    from    CPC to   Church
10                       8/4/2011    E-mail    from    CPC to   Church
11                       8/4/2011    E-mail    from    CPC to   MACKENZIE
12                       8/10/2011   E-mail    from    Church   to CPC
13                       8/10/2011   E-mail    from    CPC to   Church

        All in violation of Title 18, United States Code, Sections

1343 and 2(a).




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                                  COUNT FOURTEEN
                              (Painter #1 Wire Fraud)

      67.     As set forth above in paragraph 52, which is restated

herein and incorporated by reference,                   from at least in or about

May   2009,    to    at    least   on    or     about       October   2009,    MACKENZIE

devised and intended to devise                  the above-described scheme and

artifice to defraud the Church, and to obtain money and property

by    means     of    materially         false        and     fraudulent      pretenses,

representations and promises.

      68.     On or       about   September      1,    2009,    in    the   District   of

Massachusetts and elsewhere, defendant EDWARD J. MACKENZIE, JR.,

defendant herein, aided and abetted by others, known and unknown

to the Grand Jury,          for the purpose of executing the scheme and

artifice described above,             caused to be transmitted by means of

wire communication in interstate commerce the following writing,

signal and sound,           to wit,     an e-mail from MACKENZIE to Painter

#1.

      All in violation of Title 18, United States Code,                         Sections

1343 and 2 (a) .




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                      RACKETEERING FORFEITURE ALLEGATIONS
                                18 U.S.C. § 1963

        The Grand Jury further charges that:

        69.    Upon    conviction of             one   or more      of    the       offenses      in

violation of 18 U.S.C.             §   1962 as charged in Counts One and Two

of this Indictment, EDWARD J. MACKENZIE, JR.,                            defendant herein,

shall    forfeit      to the United States of America pursuant                                 to 18

U.S.C.    §   1963 (a) :

               a. all  interests   the  defendant   has  acquired and
                  maintained in violation of 18 U.S.C.         § 1962,
                  wherever located, and in whatever names held;

               b. all interests in, securities of, claims against, and
                  properties and contractual rights of any kind
                  affording a source of influence over, any enterprise
                  which the defendant has established,       operated,
                  controlled,  conducted,   and participated in the
                  conduct of, in violation of 18 U.S.C. § 1962; and

               c. all property constituting, and derived from, any
                  proceeds which the defendant obtained, directly and
                  indirectly, from racketeering activity and unlawful
                  debt collection in violation of 18 U.S.C. § 1962.

        70.    The    property     to       be    forfeited    includes,            but   is     not

limited       to,     the    sum       of     approximately         $1     million,            which

represents the proceeds of such violations.

        71.    If    any    of   the        property     described        in    paragraph         69

hereof as being forfeitable pursuant to 18 U.S.C.                               §    1963, as a

result of any act and omission of the defendant ­

               a. cannot   be          located         upon   the        exercise         of     due
                  diligencei
                                                 38
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            b. has been transferred to,             sold to, or deposited with
               a third party;

            c. has been      placed   beyond        the    jurisdiction      of    this
               Courti

            d. has been substantially diminished in value; or

            e. has been commingled with other property which cannot
               be divided without difficultYi

it is the intention of the United States, pursuant to 18 U.S.C.

§   1963 (m),   to   seek   forfeiture        of   any    other   property    of    the

defendant up to the value of the property described in paragraph

69 above, including but not limited to the following:

            •   the real property located at 955 Pleasant Street,
                Unit   1,  Weymouth   Massachusetts,   including all
                buildings    and    appurtenances    thereon,    more
                particularly described in a deed recorded at Book
                24132, Page 189 at the Norfolk County Registry of
                Deeds.

      All pursuant to Title 18, United States Code, Section 1963.




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               FRAUD AND EXTORTION FORFEITURE ALLEGATIONS
                  18 U.S.C. § 981 and 28 U.S.C. § 2461

      The Grand Jury further charges that:

      72.   Upon          conviction       of   one        or   more        of    the       offenses      in

violation of      18 U. S. C.         §§    1343,      1349 and 1951,                  as charged in

Counts Three, Four, and Six through Fourteen of this Indictment,

EDWARD J. MACKENZIE, JR., defendant herein,                                 shall forfeit to the

United States of America pursuant                          to 18 U.S.C.                §    981(a) (1)   (C)

and 28 U.S.C.         §    2461(c),      any property,            real or personal,                   which

constitutes      or        is     derived       from       proceeds          traceable          to     such

violations.

      73.   If    any        of    the     property         described             in       paragraph      72

hereof as being forfeitable pursuant to 18 U.S.C.                                      §    981(a) (1) (C)

and 28 U.S.C.         §   2461(c), as a result of any act and omission of

the defendant ­

            a. cannot   be               located       upon           the        exercise        of      due
               diligence;

            b. has been transferred to,                         sold to, or deposited with
               a third party;

            c. has been             placed      beyond          the     jurisdiction             of    this
               Court;

            d. has been substantially diminished in value; or

            e. has been commingled with other property which cannot
               be divided without difficulty;

it is the intention of the United States, pursuant to 28 U.S.C.

§   2461(c),     to       seek    forfeiture          of    any       other       property        of     the
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defendant up to the value of the property described in paragraph

72 above, including but not limited to the following:

          •   the real property located at 955 Pleasant street,
              Unit   1,  Weymouth   Massachusetts,   including  all
              buildings    and    appurtenances    thereon,    more
              particularly described in a deed recorded at Book
              24132, Page 189 at the Norfolk County Registry of
              Deeds.

    All pursuant to Title 18, United States Code, Section 981

and Title 28, United States Code, Section 2461.




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                     MONEY LAUNDERING FORFEITURE ALLEGATIONS
                                 18 U.S.C. § 982

      The Grand Jury further charges that:

      74.       Upon    conviction         of     the     offense       in    violation          of    18

U.S.C.      §   1956,    as    charged       in     Count       Five    of    this       Indictment,

EDWARD J. MACKENZIE, JR., defendant herein,                             shall forfeit to the

United States of America pursuant to 18 U.S.C.                                §    982(a) (I),        any

property,       real or personal,               involved in such offense,                   and any

property traceable to such property.

      75.       If    any     of    the    property        described          in    paragraph          74

hereof as being forfeitable pursuant to 18 U.S.C.                                    §    982(a) (1),

as a result of any act and omission of the defendant ­

                a. cannot   be            located        upon     the        exercise       of        due
                   diligence:

                b. has been transferred to,                 sold to,         or deposited with
                   a third party;

                c. has been         placed      beyond      the        jurisdiction         of    this
                   Court;

                d. has been substantially diminished in value; or

                e. has been commingled with other property which cannot
                   be divided without difficultYi

it is the intention of the United States, pursuant to 18 U.S.C.

§   982(b},      to     seek       forfeiture       of    any     other       property       of       the

defendant up to the value of the property described in paragraph

74 above, including but not limited to the following:


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     •   the real property located at 955 Pleasant Street,
         Unit   I,  Weymouth   Massachusetts,   including  all
         buildings    and    appurtenances    thereon,    more
         particularly described in a deed recorded at Book
         24132, Page 189 at the Norfolk County Registry of
         Deeds.

All pursuant to Title 18, united States Code, Section 982.




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                              A TRUE BILL




                                         FORE PERSON OF THE GRAND JURY




                  TORNEY




                                    :2_\___ , 2013.
    DISTRICT OF MASSACHUSETTS; May __



     Returned   into   the District Court by the Grand Jurors and
filed.




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